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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA

                                          Alexandria Division


     Hanan Elatr Khashoggi                          )
                                                    )
                                  Plaintiff         )
                                                    )
     v.                                             )     Civil Action No. 1:23-cv-00779-LMB-LRV
                                                    )
                                                    )
     NSO Group Technologies Limited, et al          )
                                                    )
                                  Defendant         )




                                              JUDGMENT

              Pursuant to the Order of this Court entered on October 26, 2023 and in

              accordance with Federal Rules of Civil Procedure 58, JUDGMENT is hereby

              entered in favor of the Defendants NSO Group Technologies Limited and Q

              Cyber Technologies Limited and against the Plaintiff Hanan Elatr

              Khashoggi.




                                                    FERNANDO GALINDO, CLERK OF COURT
                                                    By:                    /s/
                                                                   S. Williams
                                                                   Deputy Clerk


Dated: 10/26/2023
Alexandria, Virginia
